 

 

From: Luke Vetter

 

To: Dennis McBride; Barry Weber

Ca: James Archambo

Subject: RE: [External] Protest

Date: Sunday, October 11, 2020 4:58:34 PM
Mayor-

Chief Weber and | discussed this today. He will speak with you about it. | appreciate your

enforcement fervor!

Capt. Vetter

From: Dennis McBride
Sent: Sunday, October 11, 2020 1:50 PM

To: Luke Vetter <lvetter@wauwatosa.net>; Barry Weber <bweber@wauwatosa.net>

Ce: James Archambo <jarchambo@wauwatosa.net>
Subject: Fw: [External] Protest

Please send Ms. Groppi a ticket for violating curfew.

Dennis R. McBride
Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor/@wauwatosa.net
(414) 479-8915

 

From: christine groppi <christinegroppi@yahoo.com>
Sent: Sunday, October 11, 2020 12:29 PM

To: Dennis McBride

Subject: [External] Protest

Dear Mayor McBride,

| am writing to express my extreme disgust and dismay at the behavior of the

DEFS' RPD 024770

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Wauwatosa Police Department. | was a victim of the gas attack on peaceful
protesters on Friday night, and was pursued on foot by the police for several blocks
into Milwaukee, before reaching the safety of a friend’s home.

Not only was this attack unnecessary and unprovoked, but it resulted in the illegal
detention of fellow protesters and the bogus charges brought against them. They
were held for hours in a secret location under Mayfair Mall, their property confiscated,
and were subject to intimidation and harassment before finally being dropped on a
random street corner with no way of calling for help.

This conduct is illegal, dangerous, irresponsible, and deeply distressing. | urge the
mayor to abandon this course of action for the good of all citizens. End the ridiculous
and racist curfew, send the National Guard home, and seek to right the grave
injustices committed against the Cole family, and the Anderson and Gonzales
families.

Thank you for your attention in this matter.
Sincerely,
Christine Groppi

DEFS' RPD 024771
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